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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
                       v.                     )               21-cr-509 (TSC)
                                              )
ANTONY VO,                                    )
                                              )
                  Defendant.                  )
____________________________________

                            MOTION TO WITHDRAW AS COUNSEL


       Undersigned counsel respectfully moves this Court for leave to withdraw as counsel for

Mr. Antony Vo, and to appoint new counsel to represent him. Mr. Vo has raised concerns about

the legal representation being provided to him by undersigned counsel and has asked specific

questions relating to a potential claim of ineffective assistance of counsel.   Mr. Vo’s questions

poses a conflict of interest for counsel and counsel thus believes it would be in the interests of

justice to provide Mr. Vo with substitute appointed counsel and the Federal Public Defender’s

Office will ensure that new counsel is appointed if the Court grants this motion to withdraw.

                                                      Respectfully submitted,
                                                      A. J. KRAMER
                                                      FEDERAL PUBLIC DEFENDER

                                                      ______/s/____________________
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                                                      Eugene Ohm
                                                      Assistant Federal Public Defenders
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